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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  Bradley Cooper,                     )
                                      )
                                      )
               Plaintiff,             )
                                      )
         vs.                          ) Case No.:1:18-cv-314-TWP-DML
                                      )
  Blatt, Hassenmiller, Leibsker       )
  & Moore, et al.                     )
                                      )
               Defendant.             )
  ____________________________________)___________________________________

                PLAINTIFF’S NOTICE OF SERVICE OF PROCESS

          Comes now the Plaintiff, by counsel, and hereby files this Notice of Service of

   Process in the above-captioned action and, in support thereof, would show the Court the

   following:

          1.      On February 9, 2018, Defendant was served with the Summons and

                  Complaint. See Affidavit of Process Server attached hereto as Exhibit

                  “1”.



                                                       Respectfully submitted,

                                                       _/s/ John T. Steinkamp
                                                       John T. Steinkamp, #19891-49
                                                       Attorney for Plaintiff
                                                       5214 S. East Street, Suite D1
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                                   Certificate of Service
          The undersigned attorney hereby certifies that a copy of the foregoing document

   was served on the following by e-mail and via US Mail, first class postage paid and/or via

   ECF on February 26, 2018.

   CT Corporation System
   Registered Agent for Blatt, Hassenmiller, Leibsker & Moore, et al.
   150 W. Market Street, Suite 800
   Indianapolis, IN 46204



                                                        Respectfully submitted,

                                                        /s/ John Steinkamp
                                                        John T. Steinkamp
                                                        John Steinkamp and Associates
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